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 1    DANIEL J. BRODERICK, Bar #89424
      Federal Defender
 2    Lexi Negin, Bar #250376
      Assistant Federal Defender
 3    801 I Street, 3rd. Floor
      Sacramento, California 95814
 4    Telephone: (916) 498-5700
 5    Attorney for Defendant
      KURT GERARD ENGELHARDT
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 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,             )               CASE NO. CR. S-09-00195 FCD
                                            )
12                      Plaintiff,          )
                                            )               STIPULATION AND ORDER TO CONTINUE
13          v.                              )               STATUS HEARING AND TO EXCLUDE TIME
                                            )               PURSUANT TO THE SPEEDY TRIAL ACT
14                                          )
      KURT GERARD ENGELHARDT,               )
15                                          )
                        Defendant.          )
16    _____________________________________ )
17          This case is currently scheduled for a status hearing on November 2, 2009. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for November 2, 2009, be continued until November 16, 2009. In addition, the
22   parties stipulate that the time period from November 2, 2009, to November 16, 2009, be excluded under
23   the Speedy Trial Act (18 U.S.C. §3161(h)(7)(A)&(B)(iv) and Local Code T4), due to the need to provide
24   defense counsel with the reasonable time to prepare.
25   ///
26   ///
27   ///
28                                                          1
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 1   DATED: October 28, 2009
 2
                                             Respectfully submitted,
 3
 4   LAWRENCE G. BROWN                                 DANIEL BRODERICK
     United States Attorney                            Federal Defender
 5
 6
     By: /s/ Lexi Negin for                            /s/ Lexi Negin
 7   SAMUEL WONG                                       LEXI NEGIN
     Assistant U.S. Attorney                           Assistant Federal Defender
 8   Attorney for the United States of America         Attorney for Kurt Gerard Engelhardt
 9
            IT IS SO ORDERED.
10
     DATED: October 28, 2009
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                                                 _______________________________________
12                                               FRANK C. DAMRELL, JR.
                                                 UNITED STATES DISTRICT JUDGE
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